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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Civil Action No. 18-cv-00302-RPM


CIVIL RIGHTS EDUCATION AND ENFORCEMENT CENTER,

Plaintiff,

v.

UNITED STATES DEPARTMENT OF HOMELAND SECURITY and
UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT,

Defendants.
______________________________________________________________________________

  MOTION FOR LEAVE TO FILE RESPONSE TO DEFENDANTS’ DECLARATION
         REGARDING ICE FOIA OFFICE WORKLOAD AND RESOURCES
______________________________________________________________________________

        Plaintiff, by its attorneys of record, move this honorable Court for leave to file a

response, not to exceed five pages, to the Declaration of ICE Officer Catrina Pavlik-Keenan

Regarding ICE FOIA Office Workload and Resources (Doc. 25, filed 8/6/18) (“Declaration”).

        1.     The Defendants, sua sponte, filed the five-page Declaration in advance of the

original Scheduling Conference in this matter to address the issues joined by the parties’ diverse

positions on a schedule for production of documents which the federal Freedom of Information

Act requires be produced or withheld pursuant to identified objections within twenty business

days of a request, which in the case of most of the requests at issue expired approximately one

year ago.

        2.     In the Declaration, the Defendants seek to support extraordinary relief from the

response and production obligations created by the Freedom of Information Act.
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       3.      In fairness, the Plaintiff should be permitted to submit a brief response to the

Declaration, not to exceed five pages in length, to inform this Court’s decision on an appropriate

production schedule.

       4.      The submission of the proposed response will not delay this matter, will not

unduly burden the parties or the Court, and would serve the ends of justice.

       5.      The undersigned has conferred with Mark S. Pestal, Esq., counsel for Defendants,

and is authorized to advise the Court that the Defendants do not oppose this motion.




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Dated: September 17, 2018.

                                  Respectfully submitted,


                                         s/Thomas B. Kelley
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                                  Attorneys for Plaintiff,
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of September 2018, I served a true and correct copy
of the foregoing MOTION FOR LEAVE TO FILE RESPONSE TO DEFENDANTS’
DECLARATION REGARDING ICE FOIA OFFICE WORKLOAD AND RESOURCES
by filing same with the Court’s CM/ECF filing system, which will send notification to the
following:

       Mark S. Pestal, Esq.          mark.pestal@usdoj.gov
       Assistant U.S. Attorney
       Office of the United States Attorney
       1801 California, Suite 1600
       Denver, CO 80202

                                                s/ Darlene Dethlefs




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